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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                 )
                                                          )             8:05CR175
                          Plaintiff,                      )
                                                          )
        vs.                                               )               ORDER
                                                          )
KEVIN PERSON,                                             )
                                                          )
                          Defendant.                      )
        This matter is before the court on the motion of defendant Kevin Person (Person) to continue
the trial of this matter (Filing No. 21). The motion does not comply with NECrimR 12.1 which
provides, in part:
                  Unless excused by the court in individual cases, a motion to continue
                  the trial setting of a criminal case must state facts demonstrating that
                  the ends of justice served by a continuance outweigh the best
                  interest of the public and the defendant in a speedy trial, (see 18
                  U.S.C. §3161(h)(8)), or that for some other reason, the continuance
                  will not violate the Speedy Trial Act. Unless excused by the court in
                  individual cases, if the defendant is a moving party the motion shall
                  be accompanied by the defendant’s affidavit or declaration (see 28
                  U.S.C. § 1746) stating that defendant:
                           (1)      Was advised by counsel of the reasons for
                                    seeking a continuance;
                           (2)      Understands that the time sought by the
                                    extension may be excluded from any
                                    calculation of time under the Speedy Trial Act,
                                    18 U.S.C. § 3161 et seq.;
                           (3)      With this understanding and knowledge,
                                    agrees to the filing of the motion; and
                           (4)      Waives the right to a speedy trial.
The motion:
        (     )   Does not state facts demonstrating that the ends of justice served by a continuance
                  outweigh the best interest of the public and the defendant in a speedy trial.
        ( )       Does not state a reason the continuance will not violate the Speedy Trial Act.
        (U)       Is not accompanied by the defendant’s affidavit or declaration stating the
                  requirements of (1) _U_, (2) _U_, (3) _U_, or (4) _U_ above.
Accordingly, the motion will be held in abeyance until June 28, 2005, and if the deficiencies noted
above are not corrected, the motion will be denied.
        IT IS SO ORDERED.

        DATED this 23rd day of June, 2005.
                                                          BY THE COURT:
                                                          s/Thomas D. Thalken
                                                          United States Magistrate Judge
